              Case 3:20-cv-06031-RJB Document 13 Filed 01/11/21 Page 1 of 2




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 6
                               UNITED STATES DISTRICT COURT
 7                            WESTERN DISTRICT OF WASHINGTON
                                        AT TACOMA
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 9      BRENDA M. JOHNSON,
                                                            CASE NO. 3:20-cv-06031-RJB
10                             Plaintiff,
                                                            ORDER ADOPTING REPORT AND
11              v.                                          RECOMMENDATION

12      UNITED STATES OF AMERICAN, et al.,

13                             Defendants.

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15          This matter comes before the Court on the Report and Recommendation of U.S.

16   Magistrate Judge J. Richard Creatura. Dkt. 10. The Court has considered the Report and

17   Recommendation and remaining file.

18          On October 30, 2020, the Plaintiff filed a pleading entitled “LCR 3,” which was

19   construed as a motion for voluntary recusal (Dkt. 7). The undersigned denied the motion and,

20   pursuant to Western District of Washington Civil Rule of Procedure 3(e), referred the motion for

21   recusal of the undersigned (Dkt. 7) to Chief Judge Ricardo S. Martinez. Dkt. 11. Judge

22   Martinez denied the motion (Dkt. 7). Dkt. 12.

23          The instant Report and Recommendation recommends that the Plaintiff’s application to

24   proceed in forma pauperis (“IFP”) be denied and the case dismissed without prejudice for failure

     ORDER ADOPTING REPORT AND
     RECOMMENDATION - 1
              Case 3:20-cv-06031-RJB Document 13 Filed 01/11/21 Page 2 of 2




 1   to respond to an order to show cause or file a proposed amended complaint. Dkt. 10. It also

 2   recommends denying all pending motions. Dkt. 10.

 3          The Report and Recommendation should be adopted. The Plaintiff did not respond to it.

 4   Further, the Report and Recommendation has merit.

 5                                               ORDER

 6          It is ORDERED that:

 7                 The Report and Recommendation (Dkt. 10) IS ADOPTED;

 8                 Plaintiff’s application to proceed IFP (Dkt. 1) IS DENIED;

 9                 All pending motions ARE STRICKEN AS MOOT, and

10                 This case IS DISMISSED WITHOUT PREJUDICE.

11          The Clerk shall send copies of this Order to Plaintiff and to Magistrate Judge Creatura.

12          Dated this 11th day of January, 2021.

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14                                        A
                                          ROBERT J. BRYAN
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                                          United States District Judge
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     ORDER ADOPTING REPORT AND
     RECOMMENDATION - 2
